UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF WISCONSIN

In the Matter of the Seizure of
(Address or brief description of property or premises to be seized)

UP TO $83,000.00 IN FUNDS ON DEPOSIT IN Case Number: | q = i‘ = 0% |
JP MORGAN CHASE BANK ACCOUNT ENDING
IN 3703 HELD IN THE NAME OF PETER UDEOGARANYA

APPLICATION FOR A WARRANT
TO SEIZE PROPERTY SUBJECT TO FORFEITURE

I, Zachary Hoalcraft, being duly sworn depose and say:

I am a Special Agent assigned to the United States Secret Service and have reason to believe that
in the Eastern District of Wisconsin there is now certain property, namely, up to $83,000.00 in-
funds on deposit in JP Morgan Chase Bank account ending in 3703 held in the name of Peter
Udeogaranya that is civilly forfeitable under 18 U.S.C. §§ 981(a)(1)(C) and 984, including cross-
references to 18 U.S.C. §§ 1956(c)(7) and 1961(1), and criminally forfeitable under 18 U.S.C.
§ 981(a)(1)(C) in conjunction with 28 U.S.C. § 2461(c), as property that is derived from proceeds
traceable to specified unlawful activity, namely, wire fraud in violation of 18 U.S.C. § 1343, and
which property is therefore also subject to seizure for purposes of civil forfeiture under 18 U.S.C.
§ 981(b)(2) and for purposes of criminal forfeiture under 18 U.S.C. § 982(b)(1) and 21 U.S.C.
§ 853(f).

The application is based on these facts:

v Continued on the attached sheet.

ODelayed notice of days (give exact ending date if more than 30 days: is
requested under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

 

 

 

 

peer ffiant

Sworn to before me, and subscribed in my presence chary Hoalcraft, USSS

MYarcd, Ls 20/ a at Milwaukee, Wisconsin
Date and time issued City and State
William E. Callahan, Jr., U.S. Magistrate Judge edi. COMA
Name & Title of Judicial Officer Signature of Judicial Officer

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AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEIZURE WARRANT

I, Zachary Hoalcraft, having been duly sworn on oath, state as follows:
* Affiant’s Background

1.° Jama Special Agent with the United States Secret Service and have been so
employed since 2017. I am currently assigned to the United States Secret Service Milwaukee
Financial Crimes Task Force (“MFCTF”). My duties as an investigator on the MFCTF include
investigating financial crimes, such as identity theft, check fraud, credit card frand, bank fraud,
wire fraud, currency-counterfeiting offenses, and money laundering. During my employment
with MFCTF, I have conducted investigations that have resulted in seizures of criminally derived
property, including monetary instruments.

2 As a Task Force Agent, I have conducted investigations into wire fraud, money
laundering, and other complex financial crimes. In the course of those investigations, I have
used various investigative techniques, including undercover operations, reviewing physical and
electronic evidence, and obtaining and reviewing financial records. In the course of those
investigations, I have also become familiar with techniques that criminals use to conceal the
nature, source, location, and ownership of proceeds of crime and to avoid detection by law —
enforcement of their underlying acts and money laundering activities.

3. Because I am submitting this affidavit for the limited purpose of establishing
probable cause for the requested seizure warrant, I have not included in this affidavit every detail
I know about this investigation. Rather, I have included only the information necessary to
establish probable cause for the requested seizure warrant.

4, The facts set forth in this affidavit are based on my personal knowledge, including
what I have learned through my training and experience as a law enforcement officer, my review
of documents and other records obtained in the course of this investigation, and information I
have obtained in the course of this investigation from the victim of this incident.

Property Sought to be Seized
5. I submit this affidavit in support of an application for a warrant to seize up to
$170,000.00 in funds on deposit in JP Morgan Chase Bank account ending in 5082
(“JPM one held in the name of Minic Services LLC.

6. . For the reasons set forth below, I submit that up to $170,000.00 in funds on
deposit in JPM. 5082 are:

a. Funds traceable to, and are therefore proceeds of, a wire fraud offense or
offenses committed in violation of 18 U.S.C §1343;

b. Subject to civil forfeiture under 18 U.S.C §§ 981(a)(1)(C) and 984;
including cross-references to 18 U.S.C. §§ 1956(c)(7) and 1961(1);

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e: Subject to criminal forfeiture under 18 U.S.C. § 981(a)(1)(C) and
28 U.S.C. § 2461(c); and

da. Subject to seizure via civil seizure warrant under 18 U.S.C. § 981(b)(2)
and via a criminal seizure warrant under 18 U.S.C. § 982(b)(1) ane
21 U.S.C. § 853(f). |

Summary of Scheme to Defraud

T. I submit that there exists probable cause to believe that up to $170,000.00 in
proceeds of a wire fraud scheme — which involved material misrepresentations and the use of
interstate wires in connection with an email compromise fraud scheme — have been deposited
into JPM 5082, the account from which up to that amount of funds are sought to be seized.

8. As part of an email compromise fraud scheme, the victim in this case was directed
by nefarious actors to wire $260,146.93 in funds that were supposed to be directed to L.T., a title
company located in Racine, Wisconsin, for the purchase of a private residence. The victim was
instead induced to transfer funds to the fraudulent account, and those funds were then further
transferred to two other accounts, one of which was JPM 5082, the account at issue in this
seizure warrant application.

Facts Supporting Findings of Probable Cause for Issuance of Seizure Warrant
Investigation into Initial Incident

9. On February 7, 2019, Milwaukee Police Officers John Kohler and Sean Koscielak
were dispatched to Wells Fargo, located at 100 E. Wisconsin Avenue, Milwaukee, Wisconsin for
_ a fraud complaint.

10. Upon arriving at the bank, officers were met by R.C., the branch manager for
Wells Fargo Bank. R.C. stated that two customers were attempting to purchase a home located
in Racine, Wisconsin, and sent a wire transfer from their personal Wells Fargo bank account
ending in 4492 to a JP Morgan Chase Bank (“JPM Chase Bank”) account ending in 2885 held in
the name of John Tata (“JPM 2885”).

11. RC. stated that Wells Fargo had requested that the wire transfer be frozen.

12. _ RC. stated that the wire transfer was sent from the victim’s Wells Fargo 4492
account to JPM 2885, via the Wells Fargo wire transfer service on February 6, 2019, at
approximately 1:30 p.m.

13. R.C. provided officers with the banking information associated with JPM 2885
held in the name of John Tata, of Florida City, Florida. R.C. also provided officers with a copy
of the wire instructions that contained the following information:

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L.T. of Racine, Inc.

Wire instructions

Chase Bank

33XXX S. Dixie Hwy, Florida City, FL 33034
ABA/Routine: XXXXX0021

Account Name: John Tata

Account Number: XXXXX2885

Rmrono sp

14. R.C. stated that while completing the wire transfer, something did not seem right.
R.C. stated that after speaking with victim, S.C., who is one of the account holders .of Wells
Fargo 4492, in the early afternoon of ein 1, 2019, both R.C. and 8.C. decided to attempt to

stop the wire transaction.

15. RC. stated that after ae attempts to stop the wire transaction had failed,
R.C. made contact with an unidentified agent of JPM Chase Bank with whom R.C. had worked
in the past. At first, it appeared that the JPM Chase Bank agent had successfully frozen the °
funds in the JPM Chase Bank account JPM 2885.

16. But that hold did not prove to be successful as two checks were issued on JPM
2885 — namely, one for $83,000, which was deposited into JPM 3703, and one for $170,000.00,
which was deposited to JPM Chase Bank account ending 5082.

- Investigation into Wells Fargo 4492

17. Officers contacted S.C. and A.Y., the owners of Wells Fargo 4492, who had
initiated the wire transfer to JPM 2885. S.C. and A:Y. are husband and wife and were in the
process of purchasing a home at 13XX Main Street, Racine, Wisconsin, and were working with
L.T., a title company located in Racine, Wisconsin.

18.‘ §.C. and A.Y. had been in communication with K.M., a representative of L.T.
S.C. and A.Y. believed they had been communicating with K.M. via email under the address
kmexxxxxx@Imt123.com. S.C. and A.Y. stated the last email they received from
kmexxxxxx@Imt123.com contained a set of wire instructions for the payment, totaling
$260,146.93.

19. On February 6, 2019, S.C. and A.Y. went to the Wells Fargo Branch located at
100 E. Wisconsin Avenue, Milwaukee, Wisconsin to have funds wired per the instructions they
believed to be provided by kmexxxxxx@Imt123.com.

20. Following the completion of the wire transfer, S.C. and A.Y. made contact with
L.T. to confirm they received the wire transfer. L.T. informed S.C. and A.Y. that L.T. never sent
any wire instructions and was never in direct communication with S.C. and A.Y.

21. A closer examination of the emails used to send wire instructions revealed that the
email address that 8.C. and A.Y. had been communicating with was a “spoofed” email address:
khexxxxxx.Imt123@gmail.com.

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Investigation into John Tata, JPM 2885, JPM 5082, and JPM 3703

22. Beginning on March 4, 2019, officers contacted T.O., the Regional Investigator
for JPM Chase Bank, who represents Wisconsin. T.O. confirmed that there was no money left in
JPM 2885 but that following the funds transfer from Wells Fargo 4492, there were two outgoing
checks. The checks were deposited into the following accounts:

a. On February 11, 2019, at 11:14 a.m., $170,000.00 was deposited into JPM
Chase Bank account ending 5082 (“JPM 5082”) at the JPM Chase Bank
located at 850 S. Wabash Avenue, Chicago, Illinois. The account holders
of JPM 5082 are Minic Services LLL and Koh Dominic Bendu with an
address of 1XX N. Keeler Ave, #X, Chicago, Illinois 60624.

b. On February 11, 2019 at 2:40 p.m., $83,000.00 was deposited into
JPM 3703 at the JPM Chase Bank located at 401 N. Clark Street, Chicago,
Illinois. The account holder is Peter Udeogaranya with an address of
25XX Foothill Blvd., #3XX, Laverne, California 91750.

23. Through further investigation, officers discovered that “John Tata” is the alias of
Charles E. Kuti, of 19XX W. Touhy Avenue, Unit XX, Chicago, Illinois. Kuti is currently
incarcerated at the Broward County jail in Ft. Lauderdale, Florida, on charges unrelated to this
case.

24. On March 26, 2019, I contacted JPM Chase Regional Investigator T.O. again to
follow up on the above-listed information. T.O. confirmed that after the $260,146.93 in funds
were originally transferred from Wells Fargo 4492 to JPM 2885 on or about February 6, 2019,
two transfers from JPM 2885, to JPM 5082 and JPM 3703, both described in detail in
paragraph 22 above, were made on February 11, 2019.

25.  T.O. stated that JPM Chase Bank had flagged both the JPM 3703 and JPM 5082
accounts due to fraud alerts and that funds still appeared to be available in both accounts. I
informed T.O. that I would be seeking a federal seizure warrant to attempt to return the funds to
the victims of the fraud scheme.

26. As of March 29, 2019, neither S.C. nor A.Y. have received any money back from
this scam.

Applicable Asset Forfeiture Provisions

27. Under 18 U.S.C. § 984, a court may order the forfeiture of funds in a bank
account into which monies subject to forfeiture have been deposited, without the need to trace
the funds currently in the account to the specific deposits that are subject to forfeiture, up to the
amount of the funds subject to forfeiture that have been deposited into the account within the
past one-year period.

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28. Section 984 (a) provides in part:

a. In any forfeiture action in rem in which the subject property is cash
[or] funds deposited in an account in a financial institution

i. it shall not be necessary for the Government to identify the
specific property involved in the offense that is the basis for the

forfeiture; and

ii. it shall not be a defense that the property involved in such an
offense has been removed and replaced by identical property.

b. Except as provided in subsection (c), any identical property found in
the same place or account as the property involved in the offense that
is the basis for the forfeiture shall be subject to forfeiture under this
section.

29.  18U.S.C. § 984(b) provides: “No action pursuant to this section to forfeit
property not traceable directly to the offense that is the basis for the forfeiture may be
commenced more than 1 year from the date of the offense.”

30. Thus, under Section 984, a court may order the civil forfeiture of monies found in
a bank account into which deposits of criminal proceeds subject to forfeiture had been made, up
to the amount of the forfeitable deposits that have been made into the account within the prior
one-year period, without the need for tracing the funds to be forfeited to any of the specific
forfeitable deposits. ,

31. I submit that a restraining order under 21 U.S.C. § 853(e) may not be sufficient to
assure the availability of the funds for forfeiture because I have been advised of cases in which,
even after restraining order or similar process has been issued to financial institution, the funds
sought to be restrained were not effectively restrained by the financial institution. In my
judgment, a seizure warrant would be the most effective way to assure the availability of the
money sought to be seized for forfeiture.

Conclusion

32. Based on the facts and circumstances set forth in this affidavit, I submit that there
exists probable cause to believe that up to $170,000.00 in funds on deposit in JP Morgan Chase
Bank account ending i in 5082, held in the name of Minic Services LLC are:

a. Funds traceable to, and are therefore proceeds of, a wire fraud offense or
offenses, committed in violation of 18 U.S.C. § 1343;

b. Subject to civil forfeiture under 18 U.S.C. §§ 981(a)(1)(C) and 984,
including cross-references to 18 U.S.C §§ 1956(c)(7) and 1961(1);

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c. Subject to criminal forfeiture under 18 U.S.C. § S81 and
28 U.S.C. § 2461(c); and

d. Subject to seizure Via a civil seizure warrant under 18 U.S.C. § 981(b)(2)
and via a criminal seizure warrant under 18 U.S.C. § 982(b)(1) and
21 U.S.C. § 853(f).

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